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1    LAWRENCE G. BROWN
     Acting United States Attorney
2    SAMANTHA S. SPANGLER
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2792
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       CASE NO. 2:07-cr-00176 MCE
                                      )
12                     Plaintiff,     )       STIPULATION AND ORDER CONTINUING
                                      )       STATUS CONFERENCE
13        v.                          )
                                      )
14   YVONNE C. WEST,                  )
                                      )       DATE:    October 15, 2009
15                     Defendant.     )       TIME:    9:00 a.m.
                                      )       COURT:   Morrison C. England, Jr.
16                                    )
                                      )
17
18                                  Stipulation
19        The undersigned prosecutor and Robert W. Holley, counsel for
20   Yvonne C. West, have agreed that the status conference in her case
21   should be moved from September 24, 2009, to October 15, 2009, at
22   9:00 a.m.   Ms. West's son, Sammy Kelson, and daughter, Sammethia
23   Kelson, are scheduled to be sentenced on October 15, 2009 (the
24   sentencing hearings were continued from September 24).          Under the
25   terms of the package-deal plea agreements, after Sammy Kelson and
26   Sammethia Kelson have been sentenced, the government intends to move
27   to dismiss the charges against Yvonne C. West.        Therefore, the cases
28   should stay together.

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1         The parties further agree that time should be excluded from the
2    speedy trial calculation under the Speedy Trial Act through the new
3    status conference date of October 15, 2009, pursuant to 18 U.S.C. §
4    3161(h)(7)(A) & (B) and Local Code T, because of the pendency of the
5    sentencing of the co-defendants and the potential dismissal of the
6    charges against this defendant.
7         Defense counsel has authorized the prosecutor to sign this
8    stipulation on his behalf.
9    DATED:    September 23, 2009                     LAWRENCE G. BROWN
                                                      United States Attorney
10
                                                 by   /s/ Samantha S. Spangler
11                                                    Samantha S. Spangler
                                                      Assistant U.S. Attorney
12
13   DATED:    September 23, 2009                by   /s/ Samantha S. Spangler for
                                                      Robert Holley
14                                                    Counsel for Yvonne C. West
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1                                       Order
2         Good cause appearing,
3         1) The status conference is continued to October 15, 2009, at
4    9:00 a.m.;
5         2) Time is excluded through October 15, 2009, because of the
6    pendency of the co-defendants' sentencing hearings and the
7    anticipated dismissal of charges against this defendant, pursuant to
8    18 U.S.C. § 3161(h)(7)(A) and (B) and Local Code T.         The Court finds
9    that the interests of justice served by granting this continuance
10   outweigh the interests of the defendant and the public in a speedy
11   trial. IT IS SO ORDERED.
12   Dated: September 23, 2009
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14                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
15                                      UNITED STATES DISTRICT JUDGE
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